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 4
     Attorney for Defendant, Elias Zambrano
 5
 6
                                 IN THE UNITED STATES DISTRICT COURT
 7
                                   EASTERN DISTRICT OF CALIFORNIA
 8
 9                                                    )
     UNITED STATES OF AMERICA,                        )    Case No.: 1:18-CR-00253-DAD-BAM
10                                                    )
                    Plaintiff,                        )    STIPULATION TO RELEASE
11                                                    )    PASSPORT FOR RENEWAL AND
     vs.                                              )    ORDER
12                                                    )
                                                      )
13                                                    )
     ELIAS ZAMBRANO,                                  )
14                                                    )
                    Defendant.                        )
15
16
            IT IS HEREBY STIPULATED by and between Kevin P. Rooney, the attorney for
17
     defendant Elias Zambrano, and Karen A. Escobar, Assistant United States Attorney, that Mr.
18
     Zambrano’s passport will be released to him for renewal only and pursuant to the following
19
     conditions:
20
            As soon as reasonably possible and within two business days after the passport is released
21
     to him, Mr. Zambrano shall mail the passport and the appropriate forms (DS 82) and all required
22
     materials (photograph and fee) to the appropriate National Passport Processing Center. As soon
23
     as reasonably possible, and not later than 15 business days after the mailing, Mr. Zambrano shall
24
     check the status of his passport renewal application through https://passportstatus.state.gov/ and
25
     report the result to the PreTrial Services office. Mr. Zambrano shall continue to keep the
26
     PreTrial Services office update at their direction.
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            As soon as reasonably possible and within two business days after a renewed passport is
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     received by Mr. Zambrano, he shall return the passport to the Clerk of this Court and provide a
 2
 3   receipt documenting that return to the PreTrial Services Office.

 4
     IT IS SO STIPULATED.
 5
 6   Dated: March 16, 2020                                /s/ Kevin P. Rooney
                                                          KEVIN P. ROONEY
 7
                                                          Attorney for Elias Zambrano
 8
 9   Dated: March 16, 2020                                /s/ Karen A. Escobar
                                                           Karen A. Escobar
10                                                        Assistant United States Attorney
11
12                                               ORDER
13          IT IS SO ORDERED. The passport shall be released forthwith to Mr. Zambrano pursuant
14   to the terms of the above stipulation and Mr. Zambrano is ORDERED to comply with those
15   terms. Consistent with this ORDER, the previously calendared March 17, 2020 hearing
16   regarding the defendant’s second request to modify the conditions of pretrial release is deemed
17   moot and vacated.
18   IT IS SO ORDERED.

19      Dated:     March 16, 2020                            /s/ Barbara A. McAuliffe             _
20                                                       UNITED STATES MAGISTRATE JUDGE
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